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                               Exhibit C
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                                       Mediator List


    1. Ian Connor Bifferato
       The Bifferato Firm, P.A.

    2. Mark Felger
       Cozen O’Connor P.C.

    3. Sam Della Fera, Jr.
       Chiesa Shahinian & Giantomasi PC

    4. Deirdre O’Connor
